Case 1:22-cv-00986-GTS-CFH Document 49-23 Filed 10/13/22 Page 1 of 2




      are situated, to give this act specially in charge of the grand
      jury of said county.
          SEC. 4. It is hereby made the duty of the board of public Duties of
       works, when any of the provisions of this act have been vic- board and
       lated, to forthwith notify the attorney.general, and said attorney-
       attorney-general shall immediately commence suit upon the general.
       bond so given, in the name of the state of Ohio.
          SEC. 5. This act shall apply as well to the parties who Applyto all
       have heretofore used and are now using the waters of the partiol
       canals of this state as to those who may hereafter so desire
       to do. The board of public works are hereby required, upon Duties and
      -the passage of this act, to shut off and forbid the drawing of powers of
       water or use of water, contrary to the requirements of this the board.
       act, until the conditions herein providnd shall have been
       fully complied with; and the chief engineer of tiue public
        works shall, by actual survey, determine the number of acres
        included in any pond so V) be flooded, which shall be con-
       clusive, and a record of which shall be kept in the office of
        the board of public works; and the cost of making such sur-
        vey shall be paid by the parties so applying, and in deter-
        mining the amount of such cost the certificate of said chief
        engineer shall be conclusive; and the board of public works
        are hereby authorized to increaoe or diminish the rates of
        toll as fixed by the law of 1858, when the boat travels or
        freight is carried less than fifty miles on any of the canals of
        this state.
           SEc. 6. Should the pu'blic works of the state be leased, If public
        then the drawing of the water for the purposes herein men- works are
        tioned shall be under the exclusive direction and control of leased.
        said lessees, and the amount of rent so due shall be paid said
        lessees.
           SEc. 7. This act shall take effect and be in force from and
        after its passage.                 JAMES E. NEAL,
                              Speaker of the Housme of Repre&wntative.
                                        JABEZ W. FITCH,
                                               Presidentof the Senate.
         Passed June 21, 1879.




                             [Senate Bill No. 243.]
                                    AN ACT
                         To define and suppress tramps.
         SECTION 1. Be it enacted by the General Assembly of the State
       of Ohio, That any person, not being in the county in which bdm  shall
       he usually lives or has his home, who is found going about a tramp.
       begging, and asking subsistence by charity, shall be taken
       and deemed to be a tramp.
Case 1:22-cv-00986-GTS-CFH Document 49-23 Filed 10/13/22 Page 2 of 2



                                                        192

      Penalties of    hSo. 2. That any tramp who shall enter any dwelling.
      tramps.         house, or shall enter the yard or enclosure about any dwell-
                      ing-houre, against the will or without the permission of the
                      owner or occupant thereof, or shall not, when requested, im-
                      mediately leave such place, or shall be found carrying any
                      fireoarms or other dangerous weapons, or shall do or threaten
                      to do any injury to any perion, or shall do or threaten to do
                      any injury to the real or personal estate or property of
                      another, shall, upon conviction thereof, be imprisoned in the
                      penitentiary not less than one year nor more than three
                      years.
      Apprehend.         SEC. 3. That any person,upon viewof the offense described
      Iug offender.   in this act, may apprehend the offender, and take him before
                      a justice of the peace for examination.
                         SEc. 4. This act shall not apply to any female or blind
                      person.
                         S.c. 5. This act shall take effect and be inforco from and
                      after the first day of July, 1879. JAMES E. NEAL,
                                           Speaker of the holse of RepresFniatives.
                                                      JABEZ    I. FITCH,
                                                           Presdent  of t/a Senate.
                        Passed June 12,1879.


                                               [House Bill No. 103.]
                                                      AN ACT
                      To provide for printing and distributing the laws of the present session,
                        and the revised statutes in permanent form, and to repeal an act, there-
                        in named.
       Publication       SECTION 1. Be it enacted by the General Assembly of the State
       of laws.       of Ohio, That there shall be printed not more than fifteen thou-
                      sand copies of all the laws and joint resolutions of the 'pres-
                      ent session of the general assembly, except the revision of
                      the general statutes.
                         Se. 2. No pait of said edition shall be distributed until
                      the whle is bound, when the same shall be distributed ac-
                      cording to law, except six copies in forms of sixteen pages
                      which shall be sent to each member of the present general
                      assembly as soon as printed.
       Revised           Sue. 3. T1here shall be published in two volumes, in per-
        tatutes.      manent form, twelve thousand copies of the revised and con-
                      solidated statutes, enacted at the present session of the gen-
                      eral dssembly; the printing and other work shall be let out
                      by special contract as hereinafter provided, and Al. A.
                      Daugherty, John S. Brasee, and George B. Okey shall pre-
                      pare, edit, and superintend such publication, including
                       proof reading. The following mentioned 'matter shall be
                      prepared by them, and shall be published in either of the
                       volumes as they may find most practicable, viz: the articles
